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                                UNITEDSTATESDISTRICTCOURT
                                 SOUTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION




  ROOT INC. ef a/.,                                  Case No. : 2:23-cv-00512



                                Plaintiffs,

                        V.                                ANSWERANDAFFIRMATIVE
                                                                   DEFENSES

  SILVER, et a/.,



                               Defendants.




 COMES NOW Defendant, PAIGE MCDANIEL (Pro Se) and answers the Verified First

 Amended Complaint for Damages and Injunctive Relief filed by Plaintiffs as follows:

                                          INTRODUCTION

 1.         Defendant lacks knowledge or information sufficient to fonn a belief as to the truth or

 falsity of the allegations in paragraph 1 ofthe Complaint.

 2.         Defendant lacks knowledgeor information sufficientto form a beliefas to the truth or

 falsity of the allegations in paragraph 2 of the Complaint, and therefore denies the same.

 Defendant further asserts that she never participated in any scheme which involved Root Inc,

 Silver or Quantasy & Associates LLC.


                                                                                                  1
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 3.         Defendant lacks knowledgeor information sufficientto fonn a beliefas to the truth or

 falsity of the allegations in paragraph 3 of the Complaint, and therefore denies the same.

 Defendant further asserts that she did not have knowledge of B.C. Silver's fraudulent activities

 before or afterhis employment with Root.

 4.         Defendant lacks knowledgeor information sufficientto form a beliefas to the truth or

 falsity of the allegations in paragraph 4 of the Complaint, and therefore denies the same.

 Defendant farther asserts that she never received any stolen funds, wire and/or monies from

 Root, Quantasyor Silver [Collateral Damage,California].

 5.         Defendanthad no knowledge of Silver transferring funds from Collateral Damageto

 purchase luxury real estate and therefore has lack knowledge or information sufficient to form a

 beliefas to the tmth or falsity ofthe allegations in paragraph5 ofthe Complaint.

 6.        Defendantdeniesthat Plaintiffsare entitled to any damageand/orrelieffor any alleged

 claim againstDefendant.

                                 JURISDICTIONANDVENUE

 7.      Defendant denies that this Court hasjurisdiction as alleged by the Plaintiffs.

 8.      Defendantdeniesthat this Court hasjurisdiction as allegedby the Plaintiffs.

 9.      Defendant denies that this Court hasjurisdiction as alleged by the Plaintiffs.

 10.     Defendant denies that venue is proper in this District.

                                             PARTIES

 11.       Defendant lack knowledge or information sufficient to form a beliefas to the truth or

 falsity ofthe contents in paragraph 11.

 12.       Defendant lack knowledge or information sufficient to form a beliefas to the tmth or

 falsity ofthe contents in paragraph 12.
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 13.       Defendant lack knowledge or information sufficient to form a belief as to the tmth or

 falsity ofthe contents in paragraph 13.

 14.          Defendant affirms knowledge of Brinson Silver residing in California and having a

 rental property in Florida

 15.          Defendant affinns living in the state of Georgia and only being a member of the

 Collateral Damage, Georgia (GA).

 16.       Defendant afRnns knowledge of the Collateral Damage LLC [Georgia] being a limited

 liability company formed under the laws ofthe state ofGeorgia.

 17.       Defendant lack knowledge or information sufficient to form a belief as to the tmth or

 falsity ofthe contents in paragraph 17.

 18.       Defendant lack knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe contents in paragraph 18.

 19.       Defendant lack knowledge or infonnation sufficient to form a belief as to the tmth or

 falsity ofthe contents in paragraph 19.


                                FACTS COMMONTO ALLCLAIMS


                A.      Root hires SUver as Chief Marketing Officer


 20.        Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations in paragraph 20.

 21.        Defendant lacks knowledge or infonnation sufficient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph 21.

 22.        Defendant lacks knowledge or information sufficient to form a belief as to the tmth or

 falsity of the allegations in paragraph 22.
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 23.       Defendant lacks knowledge or information sufificient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph23.

 24.       Defendant lacks knowledge or information sufficient to fonn a belief as to the truth or

 falsity ofthe allegations in paragraph24.

 25.       Defendant affirms general knowledge of Silver being employed by Root and being laid

 -off by Root.


 B.     Silver Hires Quantasy to Funnel Root's Payments into His Own Company,

 Collateral Damage.


 26.       Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph26.

 27.       Defendant lacks knowledge or information sufficient to fonn a belief as to the truth or

 falsity ofthe allegations in paragraph27.

 28.       Defendant lacks knowledge or information sufficient to form a belief as to the fa-uth or

 falsity ofthe allegations in paragraph28.

 29.       Defendant lacks knowledge or infonnation sufficient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph29.

 30.       Defendant lacks knowledge or information sufiGcient to form a belief as to the truth or

 falsity ofthe allegations in paragraph30.

 31.       Defendant lacks knowledge or information sufficient to form a beliefas to the tmth or

 falsity ofthe allegations in paragraph31.

 32.        Defendant lacks knowledge or information sufiTicient to form a belief as to the truth or

 falsity of the allegations in paragraph 32.
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 33.        Defendantlacks knowledge or information sufficient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph33.

 34.       Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph34.

 35.       Defendant lacks knowledge or infomiation sufficient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph35.

 36.       Defendant lacks knowledge or information sufficient to fomi a belief as to the tmth or

 falsity ofthe allegations in paragraph36.

 37.       Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph37.

 38.       Defendant lacks knowledge or information sufficient to fonn a beliefas to the truth or

 falsity ofthe allegations in paragraph38.

 39.       Defendant lacks knowledge or information sufiTicient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph39.

 40.       Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph40.

 41.       Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegationsin paragraph41.

 42.        Defendant lacks knowledge or information sufificient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph42.

 43.        Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

 falsity of the allegations in paragraph 43.
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 44.       Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph44.

 45.       Defendant lacks knowledge or information sufiBcient to form a belief as to the truth or

 falsity ofthe allegations in paragraph45.

 46.       Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph46.

 47.       Defendant lacks knowledge or information sufficient to form a beliefas to the tmth or

 falsity ofthe allegations in paragraph47.

 48.       Defendant lacks knowledge or information sufBcient to form a belief as to the truth or

 falsity of the allegations in paragraph 48.

 49.       Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph49.

 50.       Defendant lacks knowledge or information sufificient to form a belief as to the truth or

 falsity ofthe allegations in paragraph50.

 51.       Defendant lacks knowledge or infonnation sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 51.

 52.       Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 52.

 53.       Defendant lacks knowledge or information sufficient to fonn a belief as to the truth or

 falsity of the allegations in paragraph 53.

 54.        Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegationsin paragraph54.
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 55.        Defendant lacks knowledge or information sufificient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph55.

 56.       Defendant lacks knowledge or information sufficient to form a beliefas to the ti^ith or

 falsity ofthe allegations in paragraph56.


                C.      Silver and Campbell Continue To Defraud Root.


 57.       Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations in paragraph 57.

 58.       Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations in paragraph 58.

 59.       Defendant lacks knowledge or information sufficient to form a beliefas to the tmth or

 falsity ofthe allegations in paragraph59.

 60.       Defendantlacks knowledge or information sufficient to fonn a beliefas to the truth or

 falsity ofthe allegations in paragraph60.

 61.       Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph61.

 62.       Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph62.

 63.       Defendant lacks knowledge or information sufRcient to form a belief as to the truth or

 falsity ofthe allegations in paragraph63.

 64.      Defendant affirms knowledge of the Collateral Damage Georgia LLC bemg formed as a

 company to handle sports marketing work. Defendant had no knowledge that Silver was falsely

 representing Collateral Damage Georgia to Quantasy. Defendant denies any involvement in a

 coverup or schemeto misguideRoot.
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 65.       Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegationsin paragraph65.

 66.       Defendant lacks knowledge or information sufficient to fonn a beliefas to the truth or

 falsity ofthe allegations in paragraph 66.

 67.       Defendant lacks knowledge or infonnation sufficient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph67.

 68.       Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph68.

 69.       Defendant lacks knowledge or information sufficient to form a beliefas to the tmth or

 falsity ofthe allegationsin paragraph69.

 70.       Defendant lacks knowledge or infomiation sufficient to form a belief as to the tizith or

 falsity ofthe allegations in paragraph 70.

 71.        Defendant afifirms knowledge ofW-9, the Grind24 team was requested by Silver per

 Quantasy to sign W-9s if we were to sub-contract and complete work for Quantasy.

 72.       Defendant lacks knowledge or information sufficient to fonn a belief as to the truth or

 falsity ofthe allegations in paragraph72.

 73.       Defendant lacks knowledge or information sufiEicient to fonn a belief as to the tmth or

 falsity ofthe allegations m paragraph73.

 74.       Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph74.

 75.       Defendant lacks knowledge or information sufficient to form a beliefas to the tmth or

 falsity of the allegations in paragraph 75.
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 76.       Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph76.

 77.       Defendant lacks knowledge or infonnation sufficient to fonn a belief as to the tmth or

 falsity ofthe allegations in paragraph77.

 78.       Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegationsin paragraph78.

 79.       Defendant lacks knowledge or infonnation sufficient to fonn a belief as to the truth or

 falsity ofthe allegations in paragraph79.

 80.       Defendant lacks knowledge or information sufficient to form a beliefas to the tmth or

 falsity of the allegations in paragraph 80.

 81.       Defendant lacks knowledge or information sufficient to form a beliefasto the truth or

 falsity ofthe allegations in paragraph 81.

 82.       Defendant lacks knowledge or infomiation sufficient to form a belief as to the fruth or

 falsity ofthe allegationsin paragraph82.

 83.       Defendant lacks knowledge or information sufficient to form a belief as to the tmth or

 falsity ofthe allegationsin paragraph83.

 84.        Defendant lacks knowledge or information sufiRcient to form a beliefas to the tmth or

 falsity ofthe allegationsin paragraph84.

 85.        Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph85.

 86.        Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

 falsity ofthe allegationsin paragraph86.
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 87.        Defendant lacks knowledge or information sufficient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph 87.

 88.        Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 88.

 89.        Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph89.

 90.        Defendant lacks knowledge or information sufiRcient to fomi a belief as to the tmth or

 falsity ofthe allegations m paragraph 90.

 91.        Defendant lacks knowledge or infomiation sufficient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph91.


                 D.      SUver and Campbell Attempt to Further Cover Up Their Fraud


 92.        Defendant lacks knowledge or infomiation sufiRcient to form a belief as to the truth or

 falsity ofthe allegations in paragraph92.

 93.        Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations in paragraph 93.

 94.        Defendant lacks knowledge or information sufficient to fonn a belief as to the truth or

 falsity ofthe allegations in paragraph94.

 95.        Defendant lacks knowledge or information sufficient to form a belief as to the fruth or

  falsity ofthe allegations in paragraph 95.

  96.          Defendant denies the allegations in paragraph 96 to the extent that they associate

  Defendant with Collateral Damage (CA). Defendant asserts that she was never involved or

  affiliated with the Collateral Damage (CA) that Silver established in California.




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 97.        Defendant lack knowledge or information sufiRcient to form a belief as to the truth or

 falsity ofthe allegations in paragraph97.

 98.        Defendant lack knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph98.

 99.        Defendant lack knowledge or infomiation sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 99.

  100.      Defendant lack knowledge or infonnation sufficient to form a belief as to the truth or

 falsity of the allegations in paragraph 100.

  101.      Defendant lack knowledge or information sufficient to form a belief as to the tnith or

 falsity ofthe allegations in paragraph 101.

  102.      Defendant lack knowledge or information sufficient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph 102.

  103.      Defendant lack knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations in paragraph 103.

  104.      Defendant lack knowledge or information sufiBcient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph 104.


                 E.     Silver Committed Fraudulent Schemes Against Root with Other

                 MarketingVendors


  105.      Defendant lack knowledge or infomiation sufficient to fomi a belief as to the truth or

  falsity ofthe allegations in paragraph 105.


                             COUNT 1: 18 U. S.C. S 1962fc) Civil RICO

             (Racketeer Influenced Corrupt Oraanizationsl Against All Defendants



                                                                                                11
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  106.    Defendantincorporates herresponses to eachand every allegation containedabovewith

 the same force and effect as if fully set forth herein.

  107.   Defendantdeniesthe allegations in paragraph 107 in its entirety.

  108.   Defendantdenythe allegations in paragraph 108 in its entirety.

  109.   Defendant denies the allegations in paragraph 109 in its entirety.

  110.     Defendant lack knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 110.

  111.     Defendant lack knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 111.

  112.     Defendant lack knowledge or information sufficient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph 112.

  113.     Defendant lack knowledge or information sufiRcient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph 113.

  114.     Defendant lack knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 114.

  115.     Defendant lack knowledge or information sufficient to form a beliefas to the truth or

 falsity of the allegations in paragraph 115.

  116.   Defendant denies the allegations in paragraph 116 m its entirety.

  117.   Defendantdeniesthe allegations in paragraph 117 in its entirety.

                               COUNT II: Fraudulent Concealment
                              Asainst Silver. Campbell. and Ouantasv

  118.    Defendantincorporate their responsesto eachand every allegation containedabove with

 the same force and effect as if fully set forth herein.




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  119.      Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

  falsity of the allegations in paragraph 119.

  120.      Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

 falsity ofthe allegationsin paragraph 120.

  121.      Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 121.

  122.      Defendant lacks knowledge or infomiation sufficient to form a belief as to the tmth or

 falsity of the allegations in paragraph 122.

  123.      Defendant lacks knowledge or information sufficient to fonn a belief as to the tmth or

 falsity ofthe allegationsin paragraph 123.


                             COUNT III: Fraudulent Misrepresentation


                              Against Silver. Campbell. and Quantasv


  124.     Defendant incorporate their responses to each and every allegation contained above with

 the same force andeffect as if fully set forth herein.

  125.      Defendant lacks knowledge or information sufficient to form a beliefas to the tmth or

 falsity ofthe allegations in paragraph 125.

  126.      Defendant lacks knowledge or information sufficient to form a belief as to the truth or

  falsity ofthe allegations in paragraph 126.

  127.      Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

  falsity ofthe allegations in paragraph 127.

  128.      Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

  falsity ofthe allegations in paragraph 128.




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  129.     Defendant lacks knowledge or information sufficient to form a beliefas to the tmth or

  falsity ofthe allegations in paragraph 129.

  130.     Defendant lacks knowledge or information sufificient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph 130.

  131.     Defendantlacks knowledge or infonnation sufficient to form a beliefas to the toruth or

 falsity ofthe allegations in paragraph 131.

  132.     Defendant lacks knowledge or information sufficient to form a beliefas to the truth or

 falsity ofthe allegations in paragraph 132.

  133.     Defendant lacks knowledge or mformation sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 133.


                                       COUNT IV: Conversion


                                      Against All Defendants


  134.    Defendantincorporate theirresponses to eachand every allegation containedabovewith

 the same force andeffect as if fully set forth herein.

  135.     Defendant lacks knowledge or information sufficient to form a beliefas to the tmth or

 falsity ofthe allegations in paragraph 135.

  136.    Defendantdeniesthe contents ofparagraph 136 in its entirety.

  137.    Defendantdenies the contents ofparagraph 137 in its entirety.

  138.    Defendant denies the contents of paragraph 138 in its entirety.

  139.    Defendantdeniesthe contents ofparagraph 139 in its entirety.


                COUNT V: O. R. C. 2307. 60. 2307. 61 Civil Action for Criminal Theft

                                       Against All Defendants




                                                                                               14
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  140.    Defendant incorporate their responses to each and every allegation contained above with

 the same force andeffect as if fully set forth herein.

  141.    Defendantdeniesthe allegations in paragraph 141 in its entirety.

  142.    Defendantdeniesthe allegations in paragraph 142 in its entirety.

  143.     Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 143.

  144.    Defendantdeniesthe allegations in paragraph 144 in its entirety.

  145.     Defendant lacks knowledge or information sufficient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph 145.

  146.    Defendantdenies the allegations in paragraph 146 in its entirety.


    COUNT VI: O. R. C. 2913. 05 Civil Action for Criminal Act of Telecommunications Fraud

                   Aaainst Silver. CamDbell, Quantasv. and Collateral Damage


  147.    Defendant incorporate their responses to each and every allegation contained above with

 the same force and effect as if fully set forth herein.

  148.     Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 148.

  149.     Defendant lacks knowledge or information sufficient to form a belief as to the tmth or

  falsity of the allegations in paragraph 149.

  150.     Defendant lacks knowledge or infonnation sufficient to form a belief as to the truth or

  falsity ofthe allegationsin paragraph 150.

  151.      Defendant lacks knowledge or infonnation sufficient to form a belief as to the truth or

  falsity ofthe allegations in paragraph 151.




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                          COUNTVII: Breach of Contract Against Silver


  152.     Defendant incorporate their responses to each and every allegation contained above with

 the same force and effect as if fully set forth herein.

  153.     Defendant lacks knowledge or infomiation sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 153.

  154.     Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations in paragraph 154.

  155.     Defendant lacks knowledge or information sufficient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph 155.

  156.     Defendant lacks knowledge or information sufiRcient to form a belief as to the tmth or

 falsity of the allegations in paragraph 156.

  157.     Defendant lacks knowledge or information sufficient to form a belief as to the tmth or

 falsity ofthe allegations in paragraph 157.


                        COUNT VUL Breach of Contract Against Quantasv


  158.     Defendant incorporate their responses to each and every allegation contained above with

 the same force andeffect as if fully set forth herein.

  159.      Defendant lacks knowledge or information sufficient to form a belief as to the tmth or

  falsity of the allegations in paragraph 159.

  160.      Defendant lacks knowledge or information sufficient to fonn a belief as to the tmth or

  falsity of the allegations m paragraph 160.

  161.      Defendant lacks knowledge or information sufficient to fonn a belief as to the tmth or

  falsity of the allegations in paragraph 161.



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 162.      Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegationsin paragraph 162.

 163.      Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity ofthe allegations in paragraph 163.


                       COUNT IX: Breach of Fiduciary Duty Against Silver


 164.     Defendant incorporate their responses to each and every allegation contained above with

 the sanie force andeffect as if fully set forth herein.

 165.      Defendant lacks knowledge or information sufficient to form a belief as to the tmth or

 falsity of the allegations in paragraph 165.

 166.      Defendant lacks knowledge or information sufficient to fonn a belief as to the tmth or

 falsity ofthe allegations in paragraph 166.

 167.      Defendant lacks knowledge or information sufficient to form a belief as to the tmfh or

 falsity ofthe allegations in paragraph 167.

 168.      Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations in paragraph 168.

 169.      Defendant lacks knowledge or infonnation sufficient to form a belief as to the tmth or

 falsity of the allegations in paragraph 169.

  170.     Defendant lacks knowledge or information sufficient to form a belief as to the truth or

 falsity of the allegations in paragraph 170.


                                     COUNT X: Civil Conspiracy


                                       Against All Defendants




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  171.    Defendant incorporate their responses to each and every allegation contained above with

 the same force andeffect as if fully set forth herein.

  172.   Defendantdeniesthe allegations in paragraph 172 in its entirety.

  173.   Defendantdeniesthe allegations in paragraph 173 in its entirety.

  174.   Defendantdeniesthe allegations in paragraph 174 in its entirety.

                                         PRAYERFORRELIEF

            A. Defendant denies that Plaintiffs are entitled to any reliefrequested in Section (a)

            oftheirprayer for relief.

            B. Defendant denies that Plaintififs are entitled to any reliefrequested in Section (b)

            oftheir prayer for relief.

            C. Defendant denies that Plamtiffs are entitled to any reliefrequested in Section (c)

            oftheir prayer for relief.

            D. Defendant denies that Plaintiffs are entitled to any reliefrequested in Section (d)

            oftheir prayer for relief.

            E. Defendant denies that Plaintiffs are entitled to any reliefrequested in Section (e)

            oftheir prayer for relief.

            F. Defendant denies that Plaintififs are entitled to any reliefrequested in Section (f)

            oftheirprayer for relief.

            G. Defendant denies that Plamtiffs are entitled to any reliefrequested in Section (g)

            oftheir prayer for relief.




                   FURTHER ANSWER AND AFFIRMATWE DEFENSES




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 By way of further Answer and Affirmative Defenses, Defendant denies that she is liable to

 Plaintiffs on any of the claims alleged and deny that Plaintiffs are entitled to any damages or to

 any reliefwhatsoever, and states as follows:

  1.         Defendantnever participated in any schemewhichinvolved Root Inc, or Quantasy &

 Associates LLC.

 2.          Defendant had no knowledge of B. C. Silver's fraudulent activities before or after his

 employment withRoot.

 3.        Defendant never received any stolen funds, wire and/or monies from Root, Quantasy or

 Collateral Damage.

 4.         Defendant never received any financial or monetary gain from the purchase of luxury

 real estate at 13105 Biscayne Island Terrace Miami, Florida and/or 9125 North Bayshore Drive

 Miami, Floridaand/or2543 WalnutAvenue VeniceCalifornia90291 purchasedby Silver.

 5.         Defendant never attempted to conceal Silver's afiBliation by forming an LLC with the

 GeorgiaSecretary State.

 6.         Defendant had no knowledge of Root's policies, procedures or practices when

 subcontractingor submittingwork.

 7.       Defendantnever entered into any private agreementsto defraudRoot.

 8.       Defendant never met or had knowledge of any Root executive(s) or team members.

 9.       Defendant had no knowledge of Eclipse Home Design.

  10.     Defendanthadno knowledgeofB.C. Silverpurchasingluxury properties. Defendantonly

 knew Silver lived in California at his personal residence and mentioned purchasing a property in Miami

 for pleasure and short-term rental.

  11.     Collateral Damage (Georgia) did[pmi] not receive any funds from Root or Quantasy.




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  12.           Defendantnever received any funds from Root or Quantasy at anytime including on

 about June or July 2022 when Root's Finance department became aware of the excessive and

 unauthorized spending.

  13.            Defendant never stole money and never committed a theft ofFenseunder Ohio law.

 Defendant and/or Collateral Damage [GA] have never been to the state of Ohio and had no

 contact or business dealings with Root. Defendantexerted no control over the funds and never

 received any funds from Root, Quantasy or Collateral Damage [California].

  14.          DefendantPlaintiffdid not take any steps to induce and actively conceal a scheme from

 Plaintiffs.

  15.          Defendanthadno knowledge ofSilver's involvement and schemeto use Root's monies

 and/or funds.

  16.      Defendantand/orCollateral Damage [Georgis] didnot present any documentto defraud

 Root. Any document presented to Quantasy was advised by Silver would be updated and

 resubmittedfor correctionsby Quantasyfor subcontractingagreement.

  17.          Defendant and/or Collateral Damage [Georgia] never maliciously and purposefully

 conspu-ed to cause the Plaintiff injury. Plaintiff never agreed to defraud Root of funds through a

 series of false transactions. Further, Plaintiff never attempted to hide Silver's affiliation with

 Collateral Damageto obtain funds from Root.

  18.    Plaintiffbelieved Silverto have the power and/orcapacityto gathera team or subcontract

 work with vendors.

  19.    Collateral Damage (Georgia) which consisted of the Grind24team (PaigeMcDaniel, Eli

 Hiler & Cyntoria Williams) completed work and submitted a presentation deck to Silverto give

 to Quantasy as part of subconb-acted work. The team never received any form ofpayment for the

 work.


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 20.     The presentation deck was emailed to Quantasy (William Campbell and another person,

 possiblyRodriguez) and Silver.

 21.    Any monies received during Silver's tenure at Root which were sent to Collateral Damage

 [Georgia] was for work completed at Grind24. Silver has several months that he did not pay

 PaigeMcDanielor otherGrind24team members for work.

 22.     Plaintiff worked for Silver at Grmd24 Jan 2022-Feb 2023 participated in the Marketing

 Department reported to the CEO (Cyntoria Williams) and also worked with COO (Eli Hiler) in

 Customer Support.



                               FIRSTAFFmMATWEDEFENSE

                                  (Lack of Personal Jurisdiction)

  1.      The Court and Complaint, on one or more counts set forth therein, fails to have personal

               jurisdiction over the Collateral Damage (Georgia) or Paige McDaniel

                               SECOND AFFIRMATFVE DEFENSE

                                          (No Causation)

 2.       Plaintiffs' claims against Defendant are barred because Plaintiffs' damages, if any, were

 not causedby Defendant.

                              THIRD AFFIRMATIVE DEFENSE

                                           (No Damage)

  3.       Without admitting that the Complaint states a claim, there has been no damage in any

  amount, maimer or at all by reason of any act alleged against Defendant in the Complaint, and

 the relief prayed for in the Complaint therefore cannot be granted.

                             FOURTH AFFIRMATIVE DEFENSE




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                                (mCO Claim Insufficiently Plead)

  4. The amended complaint fails to allege a pattern ofracketeering activity to Collateral Damage

         Georgia or PaigeMcDaniel, the amended complaint fails to allege a pattern ofracketeering

                                                       activity




                                 FIFTH AFFIRMATIVE DEFENSE

                                        (Duplicative Claims)

  5.    Without admitting that the Complaint states a claim, any remedies are limited to the extent

 that there is sought an overlapping or duplicative recovery pursuant to the various claims for any

  alleged single wrong.

                                SIXTH AFFIRMATIVE DEFENSE

                                         (Actions of Others)

  6.      The claims made in the Complaint arebarred, in whole or in part, because Defendant are

  not liable for the acts of others over whom they had no control and any actions by Defendant

  were not the direct cause ofhami to the Plaintiff.


                                    ADDITIONAL DEFENSES


  7.       Defendant reserve the right to assert additional defenses based on information learned or

  obtainedduringdiscovery.


  WHEREFORE, Defendant pray forjudgment as follows:

                     1. That Plaintiffs takes nothing by way of their Complaint against this

                     answeringDefendant;




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                   2. That the Complaint and each and every purported claim for relieftherein,

                   be dismissed with prejudice.

                   3. For such other and further relief as the Court deems just and proper.




 For such other and further relief as the Court deems just and proper




 Respectfully submitted:

  Dated: S/^/^3


                                                                               ^y
                                                                   PAIGE MCDANIEL (Pro Se)




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                                        CERTIFICATEOF SERVICE



  I hereby certify that a true and correct copy of the foregoing document was sent on the

  [05/27/2023] by Fedex Overnight to the U. S. Court and regular U. S. mail postage prepaid and

 email to the following parties or attorneys of record:




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 Dated this   A^dayof               2023.




                                                      Respectfully submitted,




                                                       PAIGEMCDANIEL(Pro Se)




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